           Case 3:21-cv-10075-EMC Document 1 Filed 12/29/21 Page 1 of 19




 1   Susan Lloyd

 2 929 E Main St #101                                                            DEC 29�021   �£.7
 3 Mt Joy, PA 17552                                                     CLERK, U.S. DISTRICT
                                                                       NORTH DISTRICT OF CALCOURT      �
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 5
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            Plaintiff                            CVSl-10075
                            UNITED STATES DISTRICT COURT
 8
                            NORTHERN DISTRICT OF CALIFORNIA

10                                SAN FRANCISCO DIVISION
11   Susan Lloyd,
12                Plaintiff                                        Case No           C-
13
     V                                                             Judge
14
     Facebook, Inc.                                                COMPLAINT
15
     1601 Willow Rd                                                DEMAND FOR JURY TRAIL
16
17 Menlo Park, CA 94025
18 AND
19 Meta Platforms, Inc
20 1601 Willow Rd
21
     Menlo Park, CA 94025
22
     AND
23
     Mark Zuckerberg
24
25 1601 Willow Rd
26 Menlo Park, CA 94025
27
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 1 LLOYDS COMPLAINT FOR ADA VIOLATIONS, VIOLATIONS OF SECTION 508 OF

 2   THE REHABILITATION ACT OF 1973, VIOLATIONS OF UNRUH ACT, FRAUD AND
 3   INTENTIONAL MISREPRESENTATION, VIOLATIONS OF CALIFORNIA
 4
     CONSTITUTION ARTICLE 1, SECTION 1 AND DATA PROTECTION ACT
 5
     VIOLATIONS, INVASION OF PRIVACY, BREACH OF CONTRACT, NEGLIGENCE
 6
     AND NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
 7
     JURISDICTION
 8
 9   l.Plaintiff claims Federal jurisdiction pursuant to Article III 2

10 which extends the Jurisdiction to cases arising under the US

ll Constitution. US Constitution and Federal laws were violated and
12
     the amount in controversy exceeds 75,000.00. Under 28 USC 1332,
13
     federal courts may hear cases in which a Citizen of one state sues
14
     a citizen of another state and the amount at stake is more than
15
     75,000.00. In that kind of case, no Defendant may be a citizen of
16

17 the same state as any Plaintiff which is the case here.
18 2. This court has subject matter jurisdiction over this action

19 pursuant to 28 USC 1331 and 1343 (a) (4)

20 The court has personal jurisdiction over Defendants because their
21
     principal place of business or residence is in California and they
22
     conduct and continue to conduct a substantial and significant
23
     amount of business in California.
24
     VENUE
25

26 3. Venue is proper in California pursuant to 28USC1391 (b) ( 1) as
27 this court has personal jurisdiction over the Defendants.

28 INTRADISTRICT ASSIGNMENT

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 1 4. This lawsuit should be assigned to the San Francisco Division
 2 because the Defendants principal place of business is in this
 3   Division.
 4
     PARTIES
 5
     5. Plaintiff Susan Lloyd is a Pennsylvania resident who is a
 6
     protected class who has been disabled under the ADA since 2006.
 7
     6. Defendant Facebook Inc is an online social media and social
 8
 9 networking service owned by Meta Platforms.

10 7.    Defendant Meta Platforms Inc is formerly known as Facebook and
11 is a multinational technology conglomerate. They are the parent

12
     organization of Facebook, Instagram and other subsidiaries.
13
     8. Defendant Mark Zuckerberg is the cofounder of Meta Platforms,
14
     formerly known as Facebook,                 and serves as its chairman, chief
15
     executive officer and controlling shareholder. He launched
16

17   Facebook on February 4, 2004.

18   FACTS

19        Defendants maintain a website called                                "Facebook" which they
20 use to make money through third party ads.                                     They illegally track
21
     users even when the user is logged off of Facebook. They also are
22
     not accessible under the ADA, Rehab Act and the Unruh Act.                                  They
23
     also have a long history of not abiding by their own Rules which
24
     have allowed many people including Lloyd to be abused and
25

26 threatened by other users on Facebook including threats to rape

27 and murder Lloyd.     Any attempt to resolve this conflict by other

28 means including reporting these other users have failed.

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 1 Defendants have allowed this to occur for 5 plus years now on a

 2 continued repeated basis. Defendants refuse to abide by their own
 3   Rules or any other federal or state law causing Lloyd to fear for
 4
     her safety and suffer over 100,000.00 in injuries.
 5
     CAUSES OF ACTION
 6
      I. VIOLATION OF AMERICANS WITH DISABILITIES ACT
 7
          Lloyd states the following and includes but not limited to
 8

 9 all of the above:

10 9. Under the ADA, websites must be accessible to users with
11 disabilities.     California also has state law which requires
12
     websites to be accessible. Disabled people have the right to equal
13
     access to the goods and services that fellow citizens enjoy.
14
     10. Defendants website is not accessible to anybody who has no
15
     arms, problems with vision, cannot be viewed in both landscape and
16

17 portrait orientations, font cannot be made bigger, the color
18 combinations are not high contrast enough to be used by

19 individuals with vision impairments, text cannot be resized and/or

20 be readable when resized, form fields do not have visible labels,

21
     users are not made aware of any incorrect, missing or errors
22
     entered into fields, images, gifs or videos cannot be disabled to
23
     prevent seizures, language tabs are not added, there is no
24
     accessibility statement, under display and accessibility there is
25

26 only an option to do dark mode or to make font smaller there is no
27 other accessibility options.            All of this violates the ADA.

28

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 1 11.      Furthermore, Defendants use ads and allow other third parties

 2 to advertise on their sites which discriminate against disabled

 3 people such as housing which is not ADA accessible and does not

 4
     allow service dogs.
 5
     12.    Defendants are responsible for any content on their site and
 6
     they refuse to comply with the ADA.
 7
            Defendants also allow other users to harass disabled people
 8 13.
 9 and make fun of disabilities on their website.                  Defendants refuse

10 to remove these posts even after they are reported stating they do

11 not violate their community standards so Defendants are stating it

12
     is okay to harass and make fun of disabled people.
13
     Therefore, Lloyd should be awarded damages for this cause of
14
     action.
15
     II.VIOLATIONS OF SECTION 508 OF THE REHABILITATION ACT OF 1973
16
17 AGAINST ALL DEFENDANTS

18 Lloyd repeats the above          and includes but not limited to the

19 following:

20   14. Under the Rehab Act, websites must be accessible to users with
21
     disabilities.      California also has state law which requires
22
     websites to be accessible. Disabled people have the right to equal
23
     access to the goods and services that fellow citizens enjoy.
24
     15. Defendants website is not accessible to anybody who has no
25
26 arms, problems with vision, problems with hearing, cannot be

27 viewed in both landscape and portrait orientations, font cannot be

28 made bigger, the color combinations are not high contrast enough

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 1 to be used by individuals with vision impairments, text cannot be

 2 resized and/or be readable when resized, form fields do not have
 3 visible labels, users are not made aware of any incorrect, missing
 4
     or errors entered into fields, images, gifs or videos cannot be
 5
     disabled to prevent seizures, language tabs are not added, there
 6
     is no accessibility statement, under display and accessibility
 7

 8 there is only an option to do dark mode or to make font smaller
 9 there is no other accessibility options.                            All of this violates the

10 Rehab Act.

11 1 6 .    Furthermore, Defendants use ads and allow other third parties
12
     to advertise on their sites which discriminate against disabled
13
     people such as housing which is not ADA accessible and does not
14
     allow service dogs and violates the Rehab Act.
15
     17.    Defendants are responsible for any content on their site and
16
17 they refuse to comply with the ADA and violates the Rehab Act.

18 18.      Defendants also allow other users to harass disabled people

19 and make fun of disabilities on their website.                            Defendants refuse
20 to remove these posts even after they are reported stating they do

21
     not violate their community standards so Defendants are stating it
22
     is okay to harass and make fun of disabled people.
23
     Therefore, Lloyd should be awarded damages for this cause of
24
     action.
25

26 III. VIOLATIONS OF CALIFORNIA UNRUH ACT

27          Lloyd repeats the above and includes but not limited to the

28 following:

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 1 19. California Unruh Act states that all persons are free and

 2 equal and no matter what their disability is they are entitled to
 3 full and equal accommodations, advantages, facilities, privileges,

 4
     or services in all business establishments of any kind.
 5
     20.    By not having their website ADA accessible, Defendants
 6
     violated the Unruh Act
 7
     Lloyd is entitled to damages for this claim.
 8
 9 IV. FRAUD AND INTENTIONAL MISREPRESENTATION

10 Lloyd repeats all of the above and includes but not limited to the

11 following

12
     21.    Fraud under california law occurs when a Defendant
13
     represented to another a fact that was not true, the
14
     representation was actually false, the Defendant knew the
15
     representation was false, the Defendant intended the other person
16
17 to rely on the representation, the other person did rely on the

18 representation, the other person was harmed by the reliance, the
19 Plaintiffs reliance was a substantial factor in the harm

20 suffered.
21
     22.    Facebook Statement of Rights and Responsibilities, states
22
     that Facebook enables people to connect with each other, build
23
     communities and grow businesses.            In order to use Facebook, you
24
     must use the same name that you use in everyday life, create only
25

26 one account, not share your password, give access to your facebook

27 account to others or transfer your account to anyone else.               You

28 are not allowed to share content that is at the expense of safety

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 1 and well being of others or the integrity of the community. You

 2 may not violate the Community Standards.              You may not post
 3 information that is unlawful, misleading, discriminatory, or
 4
   fraudulent or that infringes on someone elses rights. Facebook
 5
   states they take seriously their role in keeping abuse off of
 6
   their service. Facebook states they are committed to making
 7

 8 facebook a safe place and expression that threatens people has the
 9 potential to intimidate, exclude or silence others and is not

10 allowed.      Facebook also states they are committed to protecting
1 1 privacy and information. Facebook also states that people will
12
     respect the dignity of others and not harass or degrade others.
13
     Facebook also states they can disable accounts and contact law
14
     enforcement when there is a risk of physical harm or personal
15
     safety. They also state they do not allow organizations or
16
1 7 individuals that proclaim a violent mission to have presence on
18   Facebook.    They also regulate the sell of firearms on their site.

19 They also will reomve any content that depicts, threatens or

20 promotes sexual violence, sexual assault or sexual exploitation.

21
     They also state they remove content thats meant to degrade, shame,
22
     bully or harass private individuals.           They also state they will
23
     not allow others to post personal or confidential information
24
     about yourself or others.       They will remove content that shares,
25
26 offers or solicits personally identifiable information. They will

27 also not allow hate speech among other things.

28

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1 23.     All of the above is fraudulent and intentional

 2 misrepresentation by the Defendants. Facebook has allowed since

 3   2016 for over 500 people to harass and bully Lloyd on Facebook,
 4
     led by Joshua Thornsbery.         Many of these people do not use their
 5
     real names such as Robin White who goes by Harley Angel.                     They
 6
     also create multiple accounts, share their passwords and have
 7
     testified that they give access to other people for their
 8
 9 accounts.      They share content to threaten Lloyd.                    They post about

10 illegal drugs they use and they post about firearms they are
11 attempting to purchase.          They have threatened to rape and murder
12
     Lloyd for over five years and each time they have been reported,
13
     Lloyd and others were told it does not violate community
14
     standards.    They have threatened on Facebook to shoot Lloyd in the
15
     chest with a gun, choke Lloyd to death, blow up Lloyds house, they
16

17 post Lloyds picture and Lloyds address.                   They brag about

18 hallucinating from drug use.             They post pictures of guns and state

19 Lloyd will be in a cemetery.             They organize through facebook
20 events so they could come to Lloyds house and further harass
21
     Lloyd.   Thornsbery admits to organizing over 500 of his facebook
22
     friends to threaten to harass Lloyd for over a 5 year period.
23
     Thornsbery admits that he uses Facebook to threaten Lloyd.                      They
24
     use Facebook to make fun of Lloyds ADA protected disabilities such
25
26 as Lloyds scooter and oxygen.              They also use Facebook to body

27 shame Lloyd and make fun of Lloyds weight gain.                        They also state
28 they will get the Hells Angels to harass Lloyd and post pictures

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 1 of themselves at the Hells Angels events for Portage County Ohio.

 2 The Department of Justice on April 29, 2021 states Outlaw
 3 Motorcycle Gangs (OMGs) are organizations whose members use their

 4
     motorcycle clubs as conduits for criminal enterprises.                   OMGs are
 5
     highly structured criminal organizations whose members engage in
 6
     criminal activities such as violent crime, weapons trafficking,
 7
     and drug trafficking.      There are more than 300 active OMGs within
 8
 9 the United States, ranging in size from single chapters with five

10 or six members to hundreds of chapters with thousands of members
ll worldwide.     The Hells Angels, Mongols, Bandidos, Outlaws, and Sons
12
     of Silence pose a serious national domestic threat and conduct the
13
     majority of criminal activity linked to OMGs, especially activity
14
     relating to drug-trafficking and, more specifically, to cross-
15
     border drug smuggling. Because of their transnational scope, these
16

17 OMGs are able to coordinate drug smuggling operations in

18 partnership with major international drug-trafficking
19 organizations (DTOs) .

20 And yet, Facebook allows the Hells Angels to have pages on their

21
     site where they can organize and have gatherings.                   Mr Thornsbery
22
     and over 500 of his friends belong to many motorcycle gangs
23
     including the Hells Angels.        They threaten to have the Hells
24
25 Angels murder Lloyd.

26 Besides threatening to murder Lloyd, they also allow Thornsebry

27 and over 500 of his friends to threaten to rape Lloyd on their
28   site. They allow them to also post where Lloyd is so others can

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 1 show up and harass Lloyd such as Staci Dalton Liddle who posted

 2 that Lloyd was at Streetsboro Ohio library. They allow Thornsbery

 3   and his friends to post lloyds picture, Lloyds address, pictures
 4
     of Lloyds property among many other things so others know where
 5
     Lloyd lives so they can also harass Lloyd.             They even post that
 6
     they will sit in front of Lloyds house to harass Lloyd.                  This has
 7
     gone on for 5 years and Defendants refuse to ban these 500 people
 8
 9 from their sites and they allow this behavior to continue towards

10 Lloyd, a disabled person.         They even allow them to brag on
11 facebook that they pissed on Lloyds fence, damaged Lloyds fence,

12
     blow cigarette smoke at Lloyd while she is on oxygen, post
13
     pictures of Lloyds cameras and state how they can get around
14
     Lloyds security system and how they can use signal jammers to
15
     block Lloyds cameras which they did, forcing Lloyd to reinstall
16

17 wired cameras.     They even brag on Facebook about having large

18 massive illegal fires which were determined to be illegal by the
19 EPA and they do this to harass Lloyd knowing Lloyd has breathing

20 troubles.     They even state they will all go to Thornsberys to
21
     maliciously and purposefully harass Lloyd.             They even talk about
22
     other ways they can murder and injure Lloyd.              They brag about
23
     revving up motorcycles in the middle of the night to harass Lloyd
24
     and they brag about other ways they can injure Lloyd on Facebook.
25
26 There is hundreds if not thousands of posts all dedicated to Lloyd
27 and how they will injure, murder and harass Lloyd.                    It is truly

28 frightening and the majority of these people have severe criminal

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 1 records including Thornsbery who stated he will choke Lloyd to
 2 death on Facebook.          He has a 20 year history of throwing a woman
 3 to the ground twice, punching holes in his mothers walls and other

 4
     violent crimes and yet Defendants allow him to organize well over
 5
     500 people and counting to threaten to rape and murder Lloyd,
 6
     bully and harass Lloyd since 2016.                 Thornsbery admits to owning
 7
     over 50 deadly weapons and admits to organizing these people to
 8
 9 harass and threaten Lloyd and admits this is ongoing through
10   Facebook.

11 24.       As   a direct result of the Defendants allowing this to
12
     continue for 5 plus years, Lloyd fears for her safety and has fled
13
     the State of Ohio.        Thornsbery however, admits to hacking into
14
     Lloyds Facebook page and found out Lloyd is residing in the state
15
     of Pennsylvania where he admits to still having well over 500 of
16

17 his friends organized through Facebook to harass Lloyd.

18    25. It is clear Defendants represented to Lloyd a fact that was

19 not true, the representation was actually false, the Defendant

20 knew the representation was false, Defendants intended Lloyd to
21
     rely on the representation, Lloyd did rely on the representation,
22
     Lloyd was harmed by the reliance, Lloyds reliance was a
23
     substantial factor in the harm suffered.
24
     26.     These posts by Thornsbery and over 500 of his friends
25
26 directed towards Lloyd has been reported hundreds of times over
27 the past 5 years.         Defendants violate their own Regulations by

28 allowing this behavior to go on for 5 plus years after being made

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 1 aware of this in 2016. Since Defendants have refused to stop this

 2 behavior, Thornsbery and others have been able to recruit even
 3 more people to threaten Lloyd through the use of Facebook.                          They

     even organize others to gang stalk Lloyd through the use of

     Facebook who state they will sit outside Lloyds house and watch

     Lloyd.
 7

 8 Therefore, Lloyd is entitled to damages for this claim.
 9
     V.     VIOLATIONS OF CALIFORNIA CONSTITUTION ARTICLE 1, SECTION 1 AND
10
     DATA PROTECTION ACT VIOLATIONS
11
     Lloyd repeats all of the above and states the following which
12

13   includes but not limited to

14 27. California Constitution Article I, Section I states that each
15 citizen has an inalienable right to pursue and obtain privacy.                             It
16 is even a crime in California to access and without permission
17
     use, misuse, abuse, damage, contaminate, disrupt or destroy a
18
     computer.      California law also requires a business to notify any
19
     person whose information was acquired by an unauthorized person.
20
     It is also illegal to record any telecommunications without
21

22 permission.

23 28.       Lloyd never gave Facebook any permission to track her while

24 she is on her computer or any other electronic device and not

25   logged into Facebook.
26
     29.     Facebook has no authority to track Lloyd on her computer or
27
     electronic devices when she is not logged into Facebook.
28

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 1 30.       Facebook continues to track Lloyd when she is not logged into

 2 facebook and is using other third party sites such as Chewy.com,
 3   Target. Com, etc.
 4
     31.     The minute Lloyd logs back into her Facebook account, ads
 5
     from these other third party sites immediately show up on Lloyds
 6
     facebook account.
 7
     32.     Lloyd never gave permission for this to occur and it is
 8
 9 illegal for Defendants to do this.

10 Therefore, Lloyd should be awarded damages for this claim
11 VI. INVASION OF PRIVACY

12
     Lloyd repeats all of the above and includes but not limited to the
13
     following
14
     33. A person is liable for constructive invasion of privacy when
15
     they capture, any type of visual image, sound recording or other
16

17 physical impression of the Plaintiff engaging in a private,

18 personal or familial activity, through the use of any device, when
19 this could not have been achieved without a trespass unless the

20 device was used.

21
     34. A person who commits this act is liable for up to three times
22
     the amount of any damages.
23
     35.     A person who causes another person to violate this provision
24
     is also liable for damages.
25
26 36.       Defendants have used an illegal device to track Lloyd on her

27 computer and other electronic devices so they can make money off

28 of ads they then show Lloyd on her Facebook page.                                This illegal
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 1 device is used when Lloyd is signed off of Facebook and is on
 2 other third party sites such as Chewy. com, Target. com, etc
 3 37. Defendants are also liable for third parties invasion of
 4
   privacy by allowing Thornsbery and over 500 of his Facebook
 5
   friends to post Lloyds address, post pictures of Lloyd, post
 6
   pictures of Lloyds property, post about Lloyds disabilities, post
 7
 8 about Lloyds medical conditions including Lloyds scooter and
 9 oxygen, post Lloyds location, so others would threaten and harass
10 Lloyd.    Defendants have known about this behavior since 2016 and
11 refuse to stop it.
12
     Therefore, Lloyd is entitled to damages for this claim.
13
     VI. BREACH OF CONTRACT
14
          Lloyd repeats all of the above and includes but not limited
15
     to the following:
16
17 38. Facebook Statement of Rights and Responsibilities, states that
18 Facebook enables people to connect with each other, build

19 communities and grow businesses.                   In order to use Facebook, you
20 must use the same name that you use in everyday life, create only
21
     one account, not share your password, give access to your facebook
22
     account to others or transfer your account to anyone else.                     You
23
     are not allowed to share content that is at the expense of safety
24
25 and well being of others or the integrity of the community. You
26 may not violate the Community Standards.                      You may not post

27 information that is unlawful, misleading, discriminatory, or
28 fraudulent or that infringes on someone elses rights. Facebook

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 1 states they take seriously their role in keeping abuse off of

 2   their service. Facebook states they are committed to making
3    facebook a safe place and expression that threatens people has the
 4
     potential to intimidate, exclude or silence others and is not
 5
     allowed.      Facebook also states they are committed to protecting
 6
     privacy and information. Facebook also states that people will
 7
     respect the dignity of others and not harass or degrade others.
 8
 9   Facebook also states they can disable accounts and contact law

10 enforcement when there is a risk of physical harm or personal

11 safety. They also state they do not allow organizations or

12
     individuals that proclaim a violent mission to have presence on
13
     Facebook.      They also regulate the sell of firearms on their site.
14
     They also will reomve any content that depicts, threatens or
15
     promotes sexual violence, sexual assault or sexual exploitation.
16

17 They also state they remove content thats meant to degrade, shame,
18 bully or harass private individuals.                                 They also state they will

19 not allow others to post personal or confidential information

20 about yourself or others.                        They will remove content that shares,
21
     offers or solicits personally identifiable information. They will
22
     also not allow hate speech among other things.
23
     39.     Defendants refuse to abide by their own rules and
24
     regulations. Even after being made aware of Violations by other
25
26 third parties, Defendants refuse to take action for the past five

27 years.

28

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 1 40.       As a direct result Lloyd is a victim of harassment and

 2 threats to murder her due to Defendants reckless behavior.                                                 This
 3 has led Lloyd to fear for her safety for 5 plus years.
 4
     Therefore, Lloyd should be awarded damages for this claim
 5
     VII.     NEGLIGENCE AND NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
 6
             Lloyd repeats all of the above and includes but not limited
 7
 8 to the following:
 9 41. Under California Law, emotional distress damages can be
10 claimed by someone who is a victim of anothers wrongful act.
11 Serious emotional distress exists if an ordinary reasonable person

12
     would be unable to cope with the mental stress engendered by the
13
     circumstances.      The Defendant must exhibit negligent conduct and
14
     the Plaintiff suffered as a result.
15
     42.     Defendants were negligent by violating their own contract
16
17 with Lloyd.        Defendants state that Facebook will be a safe place

18 for all to use.        Instead, they have allowed over 500 people to

19 talk about drug abuse on Facebook to the point they hallucinate,

20 and then threaten to murder and rape Lloyd.                                              They also allow
21
     organized crime activities such as the Hells Angels to have
22
     organized activities on Facebook and to discuss their meetings on
23
     facebook.      This same group has threatened to murder Lloyd.
24
     Lloyd fears for her safety, has had severe emotional distress to
25
26 the point she is undergoing counseling and will never be the same
27 again as a direct result of the Defendants allowing 500 people and

28 counting to threaten to rape and murder Lloyd.                                             Any reasonable
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 1 person would fear for their safety as a result of the Defendants
 2 negligence.
 3 Therefore Lloyd should be entitled to damages for this claim

 4
 5   JURY TRAIL DEMAND

 6          Lloyd demands a jury trail for all causes of actions

 7
     ARTICLE III COURT DEMAND
 8
 9          Lloyd declines a magistrate and requests this case be in an

10 Article III court at all times.
11
     DEMAND
12
       1.     Permanent ban of Joshua Thornsebry and any and all of his
13

14          Facebook friends who have bullied, harassed, and threatened

15          Lloyd

16     2. Compensatory damages well in excess of 100,000.00 including
17          lawyers fees, actual damages, punitive damages
18
       3. Force Defendants to make their websites ADA compliant
19
       4. Force Defendants to make their websites safe for all users
20
            and to use a system of real people and not computer
21
            algorithms to investigate complaints.
22
23     5. Force Defendants to not invade their users privacy when they

24          are logged off of Facebook.

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 1 I declare under penalty of perjury under the laws of the State of

 2 California that the foregoing is true and correct. Today's Date:

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                                                            SIGN YOUR NAME
 6

 7                                                                   Susan Lloyd
 8                                                                   929 E main St #101
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                                                                     Mt Joy, PA 17552
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